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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. SA CV 22-00099-DOC-DFM                                             Date: January 26, 2022

  Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON ET AL.


  PRESENT:

                       THE HONORABLE DAVID O. CARTER, JUDGE

                  Karlen Dubon                                           Not Present
                 Courtroom Clerk                                        Court Reporter

        ATTORNEYS PRESENT FOR                                ATTORNEYS PRESENT FOR
              PLAINTIFF:                                          DEFENDANT:
             None Present                                          None Present


         PROCEEDINGS (IN CHAMBERS): ORDER RE: PRODUCTION AND
                                    PRIVILEGE LOG

         The Court previously ordered the parties to “begin work on production and
  creating a privilege log on Tuesday, January 25, 2022 by 12:00 pm Pacific.” Order (Dkt.
  41). In that Order, the Court requested that parties file joint status reports to summarize
  the progress made and any disputes that the parties are facing in production. The Court
  noted that it “expects that the parties will work together with the urgency that this case
  requires.” Id.

         The Court is in receipt of the Select Committee and Chapman University’s Joint
  Status Report (“Defendants’ Report”) (Dkt. 47) and Dr. Eastman’s Status Report
  (“Eastman Report”) (Dkt. 49). In his report, Dr. Eastman stated that he received the
  documents for review yesterday evening, Tuesday, January 25, 2022, and was able to
  complete “only a preliminary survey of the materials” last night. Eastman Report ¶ 1.

         The Select Committee states that is “concerned about the pace of Plaintiff’s
  review.” Defendants’ Report at 2. Following the hearing, the Select Committee requested
  that Dr. Eastman provide:

         (1) the set of documents reviewed that day over which Plaintiff is not claiming privilege; and
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

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        (2) privilege log entries regarding any documents reviewed that day over which Plaintiff is
        claiming privilege.

  Id. In response, Dr. Eastman’s counsel notified the Select Committee that he and Dr.
  Eastman “‘[were] going to try and start going through’ the documents tonight and
  tomorrow.” Id.

         The Select Committee further proposed the following fields for Dr. Eastman’s
  privilege log:
        (1) Date and Time;
        (2) Bates Range of Document Withheld (or Page(s) Redacted);
        (3) Author;
        (4) All Recipients (Including CC and BCC);
        (5) General Description (including a description of any attachment(s) to the email);
        (6) Nature of Privilege;
        (7) Client Name (to be left blank if Plaintiff claims privilege over the client identity itself).

  Id. Dr. Eastman responded that he was “not willing to agree to particular deadlines or
  requirements beyond those contained in the subpoena itself and the Court’s orders.” Id.
  Dr. Eastman and his counsel did represent their intention to “comply with the court’s
  orders in good faith as expeditiously as [they] can.” Id.

         Given the urgency of the investigation and the volume of documents, the Court
  finds that a more detailed production schedule is necessary and appropriate. Accordingly,
  the Court ORDERS as follows:

     1. Dr. Eastman shall use an electronic discovery program to facilitate efficient
        production and privilege log creation.
     2. The Select Committee shall assume any cost of using such an electronic discovery
        program.
     3. Dr. Eastman shall be responsible for Bates-numbering the pages and shall report
        the total number of pages to the Court by 5:00 pm PST on Friday, January 28,
        2022.
     4. Beginning on Friday, January 28, Dr. Eastman shall be responsible for reviewing
        and processing 1500 pages per business day. Dr. Eastman shall notify the Court
        of any issues he faces in maintaining that pace.
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                              UNITED STATES DISTRICT COURT
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     5. Each business day, Dr. Eastman shall produce any documents and related
        metadata he deems unprivileged to the Select Committee.
     6. Each business day, Dr. Eastman shall provide a privilege log covering any
        documents and related metadata he deems privileged to the Select Committee and
        the Court. The privilege log shall be filed under seal to protect the privacy of non-
        parties.
     7. The privilege log shall include the following fields:
            a. Date of communication or document creation;
            b. Bates range of documents withheld (or page(s) redacted);
            c. Author and position;
            d. Recipients (including CC and BCC) and their position(s);
            e. General description (including description of any attachment(s));
            f. Client name (to be left blank if Dr. Eastman asserts privilege over the client
               identity);
            g. Privilege(s) asserted.
     8. Within 3 business days of receiving each day’s privilege log, the Select
        Committee shall file under seal those privilege log entries it challenges and a brief
        description of its objections.
     9. Within 1 business day of receiving the Select Committee’s objections, Dr.
        Eastman shall file any challenged documents under seal for in camera review by
        the Court.
     10. As the review process nears its conclusion, the Court will set a briefing and
         hearing schedule on the asserted privileges and objections.

         The Court appreciates the parties’ continued diligence throughout this process.
  The joint status report remains due on Friday, January 28 at 2:00 pm PST, and the Status
  Conference remains as scheduled on Monday, January 31, 2022, at 2:00 pm PST.

        The Clerk shall serve this minute order on the parties.

   MINUTES FORM 11                                                   Initials of Deputy Clerk: ts

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